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                                                       January 23, 2015

 VIA ECF

 Honorable Arthur D. Spatt
 United States District Judge
 P.O. Box 9014
 Central Islip, NY 11722-9014

        Re:     Lopez-Serrano v. Rockmore
                14-cv-06056
                Our File No. 12-0134

 Dear Judge Spatt:

         I represent the Plaintiff in the above referenced matter. I submit this letter as
 Plaintiff’s sur-reply in opposition to the Defendant’s motion to dismiss, and pursuant to
 your order of January 23, 2015.

        The first paragraph of the Order of Robert Bruno, J.S.C. dated October 16, 2014,
 and issued in the State Case, a copy of which is annexed hereto as Exhibit 1, states:

        This matter is hereby certified for trial and plaintiff[] is directed to file note of
        issue within 90 days. If plaintiff does not file a note of issue within 90 days this
        action is deemed dismissed without further order of this Court.

       The effective dismissal date, according to the self-executing order, is January 14,
 2015. See Exhibit 1.

         The Defendant cannot dispute that the first and only settlement offer was made
 verbally on October 16, 2014, after two years of intense litigation. I memorialized the
 verbal offer in an email on October 24, 2014. A copy of this email exchange between
 counsel is annexed hereto as Exhibit 2.

          An ‘offer’ does not moot a cause of action, although an offer of judgment under
 Rule 68 may preclude a plaintiff from recovering post-offer attorneys’ fees if the plaintiff
 rejects the offer, and the plaintiff eventually obtains a judgment less than the rejected
 offer. Stanczyk v. City of N.Y., 752 F.3d 273, 280 (2d Cir. 2014).
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                Plaintiff respectfully requests that the Defendant’s motion to dismiss be denied in
       its entirety.

                                                             Respectfully submitted,




                                                             Steven John Moser

       cc:    David Feather, Esq., VIA ECF
